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13
                            UNITED STATES DISTRICT COURT
14
                          CENTRAL DISTRICT OF CALIFORNIA
15
16      DANIEL KISSICK, on behalf of                Case No. 2:19-cv-03586
        himself and all others similarly
17
        situated,                                   CLASS ACTION COMPLAINT
18                                     Plaintiff,
                  v.                                JURY TRIAL DEMANDED
19
20      SYNERGETIC
21      COMMUNICATIONS CORP.

22                                   Defendant.
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28
       CLASS ACTION COMPLAINT
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 1           Plaintiff Daniel Kissick (“Plaintiff” or “Mr. Kissick”), individually and on
 2     behalf of all others similarly situated, alleges the following on information and belief
 3     against Synergetic Communications Corp. (“Synergetic” or “Defendant”) regarding
 4     Defendant’s violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227
 5     (the “TCPA”). Plaintiff brings this Complaint to: (1) stop Defendant’s practice of
 6     placing calls using an automatic telephone dialing system (“ATDS”) to the cellular
 7     telephones of consumers nationwide without their prior express written consent; (2)
 8     enjoin Defendant from continuing to place calls using an ATDS to consumers who
 9     did not provide their prior express written consent to receive them; and (3) obtain
10     redress for all persons injured by its conduct.
11                                            PARTIES
12           1.     Plaintiff Daniel Kissick is, and at all times mentioned herein was, a
13     resident of Whittier, California, and a citizen of the State of California.
14           2.     Defendant Synergetic is a corporation organized under the laws of
15     Delaware, with a principal place of business at 5450 NW Central Dr # 1000,
16     Houston, TX 77092. Synergetic conducts business in this District and throughout
17     the United States.
18                                JURISDICTION AND VENUE
19           3.     This Court has subject matter jurisdiction over this action pursuant to
20     the Class Action Fairness Act of 2005, Pub. L. No. 109-2 Stat. 4 (“CAFA”), which,
21     inter alia, amends 28 U.S.C. § 1332, at new subsection (d), conferring federal
22     jurisdiction over class actions where, as here: (a) there are 100 or more members in
23     the proposed class; (b) some members of the proposed class have a different
24     citizenship from Defendant; and (c) the claims of the proposed class members
25     exceed the sum or value of five million dollars ($5,000,000) in aggregate. See 28
26     U.S.C. § 1332(d)(2) and (6).
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       CLASS ACTION COMPLAINT                                                                 1
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 1           4.     This Court also has federal question jurisdiction pursuant to 28 U.S.C. §
 2     1331 because this action involves violations of a federal statute, the TCPA.
 3           5.     This Court has personal jurisdiction over Defendant because the
 4     wrongful conduct giving rise to this case occurred in, was directed to, and/or
 5     emanated from this District.
 6           6.     Venue is proper in this District under 28 U.S.C. § 1391(b) because
 7     Plaintiff resides in this District and because the wrongful conduct giving rise to this
 8     case occurred in, was directed to, and/or emanated from this District.
 9                   FACTS COMMON TO ALL CAUSES OF ACTION
10     A.    The TCPA Of 1991
11           7.     In 1991, Congress enacted the TCPA in response to a growing number
12     of consumer complaints regarding certain telemarketing practices.
13           8.     The TCPA regulates, among other things, the use of automated
14     telephone equipment, or “autodialers,” defined as equipment which “has the capacity
15     . . . (a) to store or produce telephone numbers to be called, using a random or
16     sequential number generator; and (b) to dial such numbers.” 47 U.S.C. § 227(a)(1).
17     Specifically, the plain language of section 227(b)(1)(A)(iii) prohibits the use of
18     autodialers to make any call to a wireless number in the absence of an emergency or
19     the prior express consent of the called party. The same section forbids making calls
20     using an “artificial or prerecorded voice.” Id.
21           9.     The FCC has issued rulings clarifying that in order to obtain an
22     individual’s consent, a clear, unambiguous, and conspicuous written disclosure must
23     be provided by the individual. 2012 FCC Order, 27 FCC Rcd. at 1839 (“[R]equiring
24     prior written consent will better protect consumer privacy because such consent
25     requires conspicuous action by the consumer—providing permission in writing—to
26     authorize autodialed or prerecorded telemarketing calls. . . .”).
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       CLASS ACTION COMPLAINT                                                                    2
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 1     B.    Defendant’s Calls To Plaintiff And Class Members
 2           10.    Synergetic called Plaintiff using an automatic telephone dialing system
 3     without his prior express written consent at least five times, including a call on
 4     January 8, 2019 from the telephone number (800) 580-8615.
 5           11.    Defendant owns the telephone number (800) 580-8615. In fact, when
 6     the number is dialed back, a recording plays a message starting: “You have reached
 7     Synergetic Communications.” The number is also listed on Synergetic’s website:
 8     http://www.syncomcorp.net/company/contact_us.
 9           12.    When Plaintiff answered Defendant’s call, he heard a momentary pause.
10     This pause is a hallmark of a predictive dialer. According to the Federal
11     Communications Commission and experts on telecommunications equipment,
12     predictive dialers have the inherent present capacity to both (1) store and dial a list of
13     telephone numbers without human intervention, and (2) generate random or
14     sequential telephone numbers and to then dial those numbers.
15           13.    At all times material to this Complaint, Defendant was and is fully
16     aware that unwanted autodialed calls are being made to consumers’ telephones
17     through its own efforts and those of its agents.
18           14.    Defendant knowingly made (and continues to make) autodialed calls to
19     consumers’ telephones without the prior express written consent of the call
20     recipients. In so doing, Defendant not only invaded the personal privacy of Plaintiff
21     and members of the putative Class, but also intentionally and repeatedly violated the
22     TCPA.
23           15.    Online consumer complaints regarding Defendant are legion, and
24     further demonstrate Defendant’s wanton and willful disregard for the law:
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       CLASS ACTION COMPLAINT                                                                  3
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 1             • “These dumb [***] people called my work phone and tried to scam a
 2                   police officer of 30 years I guess you do have to hire the mentally
 3                   challenged”1
 4             • “They have called me every day since I turned 18, 4 months ago. If I
 5                   answer it just rings and rings with no answer. After reading all the posts
 6                   here I am way more confused then ever being that I do not own a car nor a
 7                   mobile home. I don't even have any student loans! Why they are calling me
 8                   I will never know, I am just going to ignore the number and let the phone
 9                   ring.”2
10             • “Just received a call from this number. Number belongs to synergetic
11                   communications. I have no debt at all and none of my family members
12                   either. This company did not leave a message either. So I did research and
13                   found out that this number is red flagged and is a high risk of scamming
14                   and fraud.”3
15             • “keeps calling, no message. I blocked the number.” 4
16             16.      These complaints represent just a small sampling of voluminous
17     customer complaints regarding Synergetic’s practices and clear violations of the
18     TCPA.
19                                    CLASS ACTION ALLEGATIONS
20             17.      Plaintiff brings this action on behalf of himself and on behalf of all
21     other persons similarly situated.
22             18.      Plaintiff proposes the following Class definition:
23                      All persons within the United States who (a) received a
24                      telephone call on his or her cellular telephone; (b) made by
                        or on behalf of Defendant; (c) at any time in the period that
25
26     1
         https://800notes.com/Phone.aspx/1-800-580-8615/5.
       2
         Id.
27     3
         Id.
       4
         Id.
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       CLASS ACTION COMPLAINT                                                                     4
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 1                        begins four years before the filing of the complaint in this
                          action to the date that class notice is disseminated.
 2
                 19.      Plaintiff represents, and is a member of, this proposed Class. Excluded
 3
       from the Class are Defendant and any entities in which Defendant has a controlling
 4
       interest, Defendant’s agents and employees, any Judge and/or Magistrate Judge to
 5
       whom this action is assigned, and any member of such Judges’ staffs and immediate
 6
       families.
 7
                 20.      Numerosity. Plaintiff does not know the exact number of members in
 8
       the proposed Class, but reasonably believes, based on the scale of Defendant’s
 9
       business, that the Class is so numerous that individual joinder would be
10
       impracticable.
11
                 21.      Existence and predominance of common questions of law and fact.
12
       Plaintiff and all members of the proposed Class have been harmed by the acts of
13
       Defendant in the form of multiple involuntary telephone and electrical charges, the
14
       aggravation, nuisance, and invasion of privacy that necessarily accompanies the
15
       receipt of unsolicited and harassing telephone calls, and violations of their statutory
16
       rights.
17
                 22.      The disposition of the claims in a class action will provide substantial
18
       benefit to the parties and the Court in avoiding a multiplicity of identical suits.
19
                 23.      The proposed Class can be identified easily through records maintained
20
       by Defendant.
21
                 24.      There are well defined, nearly identical, questions of law and fact
22
       affecting all parties. The questions of law and fact involving the class claims
23
       predominate over questions which may affect individual members of the proposed
24
       Class. Those common question of law and fact include, but are not limited to, the
25
       following:
26
                 a. Whether Defendant made telephone calls to Plaintiff and class members
27
                       using an ATDS without prior express consent;
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       CLASS ACTION COMPLAINT                                                                        5
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 1              b. Whether Defendant’s conduct was knowing and/or willful;
 2              c. Whether Defendant is liable for damages, and the amount of such damages,
 3                    and
 4              d. Whether Defendant should be enjoined from engaging in such conduct in the
 5                    future.
 6              25.      Typicality. Plaintiff asserts claims that are typical of each member of
 7     the Class because they are all persons who received calls on their telephones using
 8     an ATDS without their prior express written consent. Plaintiff will fairly and
 9     adequately represent and protect the interests of the proposed Class, and has no
10     interests which are antagonistic to any member of the proposed Class.
11              26.      Adequacy of Representation. Plaintiff will fairly and adequately
12     represent and protect the interests of the proposed Class, and has no interests which
13     are antagonistic to any member of the proposed Class.
14              27.      Plaintiff has retained counsel experienced in handling class action
15     claims involving violations of federal and state consumer protection statutes.
16              28.      Superiority. A class action is the superior method for the fair and
17     efficient adjudication of this controversy.
18              29.      Class wide relief is essential to compel Defendant to comply with the
19     TCPA.
20              30.      The interest of the members of the proposed Class in individually
21     controlling the prosecution of separate claims against Defendant is small because the
22     statutory damages in an individual action for violation of the TCPA are relatively
23     small.
24              31.      Management of these claims is likely to present significantly fewer
25     difficulties than are presented in many class claims because the calls at issue are all
26     automated and the members of the Class, by definition, did not provide the prior
27     express consent required under the statute to authorize calls to their telephones.
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       CLASS ACTION COMPLAINT                                                                      6
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 1           32.     Defendant has acted on grounds generally applicable to the proposed
 2     Class, thereby making final injunctive relief and corresponding declaratory relief
 3     with respect to the proposed Class as a whole appropriate.
 4           33.     Moreover, on information and belief, Plaintiff alleges that the TCPA
 5     violations complained of herein are substantially likely to continue in the future if an
 6     injunction is not entered.
 7                       FIRST CAUSE OF ACTION
          KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE
 8            CONSUMER PROTECTION ACT, 47 U.S.C. § 227, et seq.
 9           34.     Plaintiff incorporates by reference the foregoing paragraphs of this
10     Complaint as if fully stated herein.
11           35.     The foregoing acts and omissions of Defendant constitute numerous and
12     multiple knowing and/or willful violations of the TCPA, including but not limited to
13     each of the above-cited provisions of 47 U.S.C. § 227 et seq.
14           36.     As a result of Defendant’s knowing and/or willful violations of 47
15     U.S.C. § 227 et seq., Plaintiff and members of the proposed Class are entitled to
16     treble damages of up to $1,500.00 for each and every call made in violation of the
17     statute, pursuant to 47 U.S.C. § 227(b)(3)(C).
18           37.     Plaintiff and members of the proposed Class are also entitled to and do
19     seek injunctive relief prohibiting such conduct violating the TCPA by Defendant in
20     the future.
21           38.     Plaintiff and members of the proposed Class are also entitled to an
22     award of attorneys’ fees and costs.
23                       SECOND CAUSE OF ACTION
24       VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT,
                            47 U.S.C. § 227, et seq.
25
             39.     Plaintiff incorporates by reference the foregoing paragraphs of this
26
       Complaint as if fully stated herein.
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       CLASS ACTION COMPLAINT                                                                  7
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 1           40.     The foregoing acts and omissions of Defendant constitute numerous and
 2     multiple violations of the TCPA, including but not limited to each of the above-cited
 3     provisions of 47 U.S.C. § 227 et seq.
 4           41.     As a result of Defendant’s violations of 47 U.S.C. § 227 et seq., Plaintiff
 5     and members of the proposed Class are entitled to an award of $500.00 in statutory
 6     damages for each and every call made in violation of the statute, pursuant to 47
 7     U.S.C. § 227(b)(3)(B).
 8           42.     Plaintiff and members of the proposed Class are also entitled to, and do,
 9     seek injunctive relief prohibiting such conduct violating the TCPA by Defendant in
10     the future.
11           43.     Plaintiff and members of the proposed Class are also entitled to an
12     award of attorneys’ fees and costs.
13                                    PRAYER FOR RELIEF
14           WHEREFORE, Plaintiff respectfully requests that the Court grant Plaintiff
15     and all members of the proposed Class the following relief against Defendant:
16           a.      Injunctive relief prohibiting such violations of the TCPA by Defendant
17                   in the future;
18           b.      As a result of Defendant’s willful and/or knowing violations of the
19                   TCPA, Plaintiff seeks for himself and each member of the proposed
20                   Class treble damages, as provided by statute, of up to $1,500.00 for
21                   each and every call that violated the TCPA;
22           c.      As a result of Defendant’s violations of the TCPA, Plaintiff seeks for
23                   himself and each member of the proposed Class $500.00 in statutory
24                   damages for each and every call that violated the TCPA;
25           d.      An award of attorneys’ fees and costs to counsel for Plaintiff and the
26                   proposed Class;
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       CLASS ACTION COMPLAINT                                                                 8
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 1            e.     An order certifying this action to be a proper class action pursuant to
 2                   Federal Rule of Civil Procedure 23, establishing the appropriate Class,
 3                   finding that Plaintiff is a proper representative of the Class, and
 4                   appointing the lawyers and law firm representing Plaintiff as counsel
 5                   for the Class;
 6            f.     Such other relief as the Court deems just and proper.
 7                                 DEMAND FOR JURY TRIAL
 8            Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial
 9      by jury of any and all issues in this action so triable of right.
10
11      Dated: April 29, 2019             Respectfully submitted,
12
                                          BURSOR & FISHER, P.A.
13
14                                        By:    /s/ L. Timothy Fisher
                                                 L. Timothy Fisher
15
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